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Development Action
Communication




                                                         Work on developing better business
  Development                              Development   relationships with fellow employees.
                     Communication
  Need                                     Action        Break down barriers that are real or
                                                         perceived.
  Target Due Date    06/30/2017

Development Action
Teamwork




                                                         Improve your business related teams
                                                         and groups. Reduce the amount of
  Development                              Development
                     Teamwork                            working on your own and start
  Need                                     Action
                                                         involving other departments and
                                                         teams.
  Target Due Date    06/30/2017




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